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                      UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION


United States of America, et al.,                  Case No. 1:02cv107
           Plaintiffs,                             (Barrett, J.; Litkovitz, MJ)

        v.

Board of Hamilton County
Commissioners, et al.,
           Defendants.

                         ________________________

                                  ORDER
                         ________________________

        This matter is before the Court on request by claimant Robert

 Wassler to dismiss his request for review of sewer backup claim filed in this

 matter. (Doc. 1830).

        For good cause shown, claimant Robert Wassler’s request to dismiss

 his sewer backup claim is hereby Granted. The hearing in this matter set

 for August 4, 2020 is hereby Vacated, and the matter shall be removed

 from the active sewer backup docket of this Court.

        IT IS SO ORDERED.


Date May 29, 2020
awh    May 29, 2020       Karen L. Litkovitz
                          United States Magistrate Judge
